                  Case 1:18-bk-10071        Doc 24 Filed 03/07/18 Entered 03/07/18 12:08:58                  Desc Gr
                                                  RFS After Hrg Page 1 of 1
                                              UNITED STATES BANKRUPTCY COURT
                                                  DISTRICT OF RHODE ISLAND


_____________________________________________________________________________________________________________
        In Re: David W. Wagner                                  BK No. 1:18−bk−10071
        Debtor(s)                                               Chapter 7

_____________________________________________________________________________________________________________
                                     ORDER GRANTING MOTION FOR RELIEF FROM STAY,
                                               (this relates to Document # 16)

        The Court, having considered the Motion for Relief from the Automatic Stay, (Doc. # 16); filed by Deutsche Bank
        National Trust Company ; and after hearing,

                    IT IS HEREBY ORDERED that for the reasons stated by the Court in its bench decision, are
                    incorporated herein by reference:

                    (1) Deutsche Bank National Trust Company is granted relief from the automatic stay imposed
                    under 11 U.S.C. § 362 to pursue its legal remedies under applicable non−bankruptcy law with
                    respect to:

                    55 Downing Street, East Greenwich, RI.


                    (2) The 14−day stay imposed under Rule 4001(a)(3) of the Federal Rules of Bankruptcy Procedure
                    applies.

                                                                So Ordered:




                                                                Date: 3/7/18

        Entered on Docket: 3/7/18
        Document Number: 24 − 16
        109.jsp




        ______________________________________________________________________________________________

                  The Federal Center · 380 Westminster Street, 6th Floor · Providence, RI 02903 · Tel: (401) 626−3100

                                                    Website: www.rib.uscourts.gov
